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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                      )
WEST FLAGLER ASSOCIATES, LTD., d/b/a                  )
MAGIC CITY CASINO; AND BONITA-FORT                    )
MYERS CORPORATION, d/b/a BONITA                       )
SPRINGS POKER ROOM,                                   )
                                                      )
               Plaintiffs,                            )
                                                      )
                       v.                             )   Civil Action No. 1:21-cv-02192-DLF
                                                      )
DEB HAALAND, in her official capacity as              )
Secretary of the United States Department of          )
the Interior; and THE UNITED STATES                   )
DEPARTMENT OF THE INTERIOR,                           )
                                                      )
               Federal Defendants.                    )
                                                      )

                                     NOTICE OF APPEAL

       Notice is hereby given that Federal Defendants Deb Haaland, in her official capacity as

Secretary of the Interior, and the United States Department of the Interior, by and through their

undersigned counsel, hereby appeal to the United States Court of Appeals to the District of

Columbia Circuit from the Order and Memorandum Opinion entered in the above-named action

on November 22, 2021 (ECF Nos. 42 and 43), granting Plaintiffs’ Motion for Summary

Judgment; denying Federal Defendants’ Motion to Dismiss, and denying as moot the Seminole

Tribe of Florida’s Motion for Limited Intervention.

       Respectfully submitted this 19th day of January, 2022.

                                             TODD KIM
                                             Assistant Attorney General
                                             Environment and Natural Resources Division
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                                    /s/ Rebecca M. Ross
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                                    HILLARY K. HOFFMAN, Trial Attorney
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                                    Environment and Natural Resources Division
                                    United States Department of Justice
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                               CERTIFICATE OF SERVICE

       I, Rebecca M. Ross, hereby certify that on January 19, 2022, I caused the foregoing

NOTICE OF APPEAL to be sent electronically to the registered participants as identified on the

Notice of Electronic Filing.

                                            /s/ Rebecca M. Ross
                                            REBECCA M. ROSS, Trial Attorney
                                            Indian Resources Section
                                            Environment and Natural Resources Division
                                            United States Department of Justice
